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NEWS DESK

A PENNSYLVANIA MOTHER’S PATH TO INSURRECTION

How claims from Rudy Giuliani and Alex Jones spurred a parent of eight to become one of the Capitol riots
biggest mysteries and a fugitive from the F-B.I.

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By Ronan Farrow
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Videos show Rachel Powell, seen here wearing a pink hat and sunglasses, using a battering ram to smash a window and a bullhorn

to issue orders at the Capitol riot. Photograph by Lev Radin / Pacific Press / Shutterstock

B efore the pandemic, Rachel Powell, a forty-year-old resident of a small town in western Pennsylvania, sold cheese and yogurt
at local farmers’ markets and used Facebook mostly to discuss yoga, organic food, and her children’s baseball games. But, last
year, Powell began to post more frequently, embracing more extreme political views. Her interests grew to include conspiracy

theories about cov1p-19 and the results of the Presidential election, filtered through such figures as Donald Trump, Rudy

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Giuliani, and the Infowars founder Alex Jones. On May 3, 2020, Powell wrote on Facebook, “One good thing about this whole

CV crisis is that I suddenly feel very patriotic.” Expressing outrage at the restrictions that accompanied the pandemic, she wrote,
“It isn’t to late to wake up, say no, and restore freedoms.” Several days later, she posted a distraught seven-minute video, shot
outside a local gym that had been closed. “Police need to see there’s people that are citizens that are not afraid of you guys showing
up in your masks. We're going to be here banded together, and we're not afraid of you,” she said. “Maybe they should be a little bit

afraid.”

On January 6th, during the storming of the United States Capitol, Powell made good on that threat. Videos show her, wearing a
pink hat and sunglasses, using a battering ram to smash a window and a bullhorn to issue orders. “People should probably
co6rdinate together if you're going to take this building,” she called out, leaning through a shattered window and addressing a

group of rioters already inside. “We got another window to break to make in-and-out easy.”

In recent weeks, as journalists and law-enforcement officials tried to identify participants in the assault, she came to be known as
“Bullhorn Lady” and “Pink Hat Lady.” She appeared on an F-B.I. “Wanted” poster, was featured in cable-television news
segments, and became an obsessive focus of crowdsourced investigative efforts by laypeople and experts. Forrest Rogers, a
German-American business consultant who is part of a Twitter group called the Deep State Dogs, recently identified Powell and

reported her name to the F.B.I. She is now being sought by law enforcement.

In her first public comments since the riot, Powell acknowledged her role in the events at the Capitol. During a two-hour
telephone interview, she claimed that her conduct had been spontaneous, contrary to widespread speculation that she had acted in
coérdination with an organized group. “I was not part of a plot—organized, whatever,” Powell, who was speaking from an
undisclosed location, told me. “I have no military background. . . . I’m a mom with eight kids. That’s it. I work. And I garden.
And raise chickens. And sell cheese at a farmers’ market.” During the interview, she reviewed photographs and videos of the
Bullhorn Lady, acknowledging that many of the images showed her, and offered detailed descriptions of the skirmishes they
depicted. She declined to comment on some of her conduct—including smashing windows and shouting orders to fellow-rioters—
that could carry criminal charges. “Listen, if somebody doesn’t help and direct people, then do more people die?” she said. “That’s

all I’m going to say about that. I can’t say anymore. I need to talk to an attorney.”

owell was born in Anaheim, California, and grew up on what she described as “the really bad side” of Fresno. She was raised
Pp by her mother, who worked at a local shop, and by her stepfather, a plumber. “It was rough, but she didn’t do without
anything,” her mother, Deborah Lemons, who has had a strained relationship with Powell for the past several years, said. “She
always had clothes. She always had food.” Lemons said that, when Powell was a child, she and her stepfather were the victims of a
carjacking. Powell was held at gunpoint and her stepfather was kidnapped for several hours by their assailant. “Knowing what that
feels like, I am just absolutely amazed that she would participate in something like this and not consider or have a lot of
compassion for the people who were inside that building,” Lemons said, referring to the riot. “She well knows what it’s like to

wonder if she’s gonna lose her life.”

When Powell was fifteen, her family moved to West Sunbury, in western Pennsylvania, to care for an ailing relative of her
stepfather’s. The town was typical of declining Rust Belt communities. “There were a lot of steel mills that closed even since I
lived there,” Powell told me. After graduating from high school, she married and had her first child at sixteen, her mother said.
Three years ago, Powell separated from her husband. Since then, she has worked various part-time jobs to support her children,

who range in age from four to mid-twenties. She told me that she has a certification as a group fitness instructor, and has taken a

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course in alternative medicine. “She’s very granola, very crunchy,” a friend, who asked not to be identified, told me. “Does yoga,

eats vegetarian, homeschools all their kids.”

Powell said that, before the election of Donald Trump, in 2016, she held a wide range of political opinions. “My views kind of fall
all over the place,” she said. “I guess you could say that I’m more libertarian at heart.” Though her county supported Trump by
wide margins in both 2016 and 2020, Powell told me that she didn’t vote for him in his first run, and her social-media posts during
that time include sharp criticism of him. “rump makes me uncomfortable as a presidential candidate,” she wrote in a Facebook
post that linked to a piece about Trump's lack of civility. “What disturbs me is that so many people support this type of person.”
She also told me that she took issue with his environmental policies. During his tenure in the White House, however, she

embraced Trump and, eventually, the misinformation that he nurtured about the coronavirus and election fraud.

Those political views began to have various impacts on her life after the pandemic hit. Paula Keswick, who co-owns a local
creamery that sold Powell cheese and yogurt, said that Powell was barred from working at some events after she refused to obey
pandemic restrictions. “She was just adamant she was not going to wear a mask,” Keswick said. (Powell said that she now works
part time at a local bookstore.) Last summer and fall, Powell said, she attended various protests, including anti-mask rallies. “If
there was a protest in Harrisburg, I was there for almost all of them,” she told me. On July 4th, she drove for four hours to join
members of several far-right groups, some of them armed, who gathered at the Gettysburg National Military Park, purportedly to
protect Civil War monuments from desecration. At the rally, a man wearing a Black Lives Matter shirt was surrounded and
aggressively questioned by about fifty demonstrators. In a video posted online, Powell is among the group, holding an iPhone with
the same Kate Spade Hollyhock Floral case that she was later photographed carrying at the Capitol. Powell also told me that she
attended rallies in Washington, D.C., on dates she could not recall, including one attended by members of the far-right group the
Proud Boys, where Alex Jones, who has falsely alleged that the Sandy Hook Elementary School shooting was faked, spoke.
(Powell said that Jones is not her “favorite person,” but that she considers him to be “another journalist to listen to—he has
interesting things to say.”) She told me that she did not share the racist views espoused by some on the far right. (In 2013, she
tweeted, “what’s up, my niggas?” Powell defended the use of the N-word, saying, “My favorite book is ‘Gone with the Wind,’ and

it uses that term freely.”)

Last November, Powell voted for Trump. “It was a little bit of a hard decision for me, and I didn’t make that decision to vote for
him till two months before the election,” she said. “I appreciate his business mind. Economy-wise, he has it going on. He loves
America.” Ultimately, she concluded, she “couldn't vote for the other person. I really don’t think Biden or Harris will be good for
the country.”

Concerns about mask requirements, which she called a “liberty issue,” were instrumental in her decision. She claimed that the risks
of the coronavirus had been overstated by public-health officials, saying that she had not seen many deaths in her county. On
November 5th, 2020, she wrote in a Facebook comment directed at a friend, “I won't get a vaccine either. I hear what you're saying
about the whole world being in on the conspiracy as far as the corona virus goes.” On December 27th, she posted, “I'm
unashamedly a ‘super spreader,’ ” attaching photographs of crowded, mask-free holiday and birthday parties. That day, she
uploaded a video of a large maskless meal, during which several children said, “No masks,” and Powell could be heard saying, “The

masks are total bullcrap. You guys just need to get out there and live. Get arrested—it’s fine.”

Powell connected her beliefs about the coronavirus to claims promoted by Trump and his allies that he had won the election. The

day after the election, she shared a screenshot of a graphic claiming that several states had more votes recorded than they did

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registered voters, information that Facebook flagged as “partly false.” In the accompanying text, Powell wrote, “I’m sitting here
thinking about how everyone has been so complacent during COVID.” She went on, “The government knows exactly how far you

can be pushed because the population has been successfully tested.”

That post, like others reflecting Powell’s increasingly extreme views, was met with positive reinforcement online. “The dumbing
down and fattening up of America has been very successful,” one person wrote in response to the election-fraud conspiracy theory.
“It may be too late if ever they wake up.” Earlier posts protesting mask-wearing prompted comments such as “Truth!!!” and “Wake

up people!!!”

Powell said that she derived her beliefs “a little bit from everywhere,” and that she was not a follower of any mainstream news
source. “You can go online, go on Facebook now, and dig up a thousand different links about it,” she said, of the election-fraud
conspiracy theories. She said that Rudy Giuliani, Trump’s personal attorney, had been a significant source of information, and that
she had watched remarks he gave in Gettysburg, on November 25th, during a widely discredited state-senate committee hearing in
which he and several witnesses made baseless claims of voter fraud. “That was pretty moving to me,” she said. “I learned a lot from

Giuliani and people’s testimonies.”

Joan Donovan, a scholar of media manipulation and extremism, who serves as the research director of Harvard’s Shorenstein
Center on Media, Politics, and Public Policy, told me that Powell’s process of radicalization was increasingly common. “You don't
have to go to the dark corners of the Web to find this any more,” she said. “Through these influencers, through these political
propagandists, it’s all brought in through your news feed, through your home page.” Donovan said that friends’ comments often
provide an echo chamber for misinformation, and that every click on extremist content can prompt social-media algorithms to
produce more of the same. Giuliani, in particular, has proved to be a popular entry point into the world of misinformation. “There
were a lot of people like her in that crowd,” Donovan told me, referring to Powell’s participation in the Capitol riot. “They’re
going to figure out ways to get back online and to keep communicating with each other. And, if Trump does figure out a way back
on platforms where he can build power in the way he did before, this group of people is going to continue to be dangerous and

menacing.”

t the July 4th demonstration in Gettysburg, Powell met Kevin Lynn, the founder of a group that advocates for the hiring of

American workers in the U.S. technology industry. Last August, after Lynn's group placed ads pressing Trump to restrict
the outsourcing of jobs overseas, Lynn met with Trump at the White House. Lynn told me that he had attended the Gettysburg
protest to document the event, and that he interviewed several participants, including Powell. Afterward, the two stayed in touch.
“T would say we're friends,” he said. Before Trump’s “Stop the Steal” rally in Washington, D.C., Powell told Lynn that she planned
to attend, and they agreed to go together. On January 5th, Powell and Lynn met near Lancaster, Pennsylvania, and drove to
Washington in his car. At least two other friends, the owners of the bookstore where Powell works, drove in another car. (The
bookstore owners did not respond to a request for comment.) At the rally, on the morning of January 6th, Powell helped Lynn
operate his camera. Trump urged attendees to “fight like hell.” He added, “We're going to walk down to the Capitol. . . . Let’s
walk down Pennsylvania Avenue.” Powell said that Trump's words weighed “partially” in her decisions that day. “It’s good he did
ask the American people to come and let their voices be heard for what they believe in,” she told me, “but it was definitely not the

sole reason that I came.”

Both Powell and Lynn said that, as they marched to the Capitol, they were separated. Lynn told me that he did not enter the

Capitol and that he was “shocked” by the footage of Powell in the thick of the violence.

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Source: FBI

At the Capitol, Powell said that she found herself in an increasingly violent confrontation between rioters and Capitol police.
Powell appeared to be wearing a jacket designed specifically for the concealed carrying of a gun, but said she did not carry one,
“unless you count a Larabar and bottle of water as a weapon.” In one video, her pink hat is briefly visible in a crush of bodies
during a skirmish near an entrance on the west front of the Capitol which is reserved for members of Congress and staffers.
“That’s where the pileup was,” she told me, after reviewing the video. “The people were wedged so tight.” She said that she heard
a woman's cries growing gradually quieter beneath the crowd and claimed to have ultimately seen her dead body. (The New Yorker

was unable to confirm whether a woman died there.) Powell added, “I was beaten with a baton, and sprayed and gassed.”

In another video, Powell and other rioters are seen using a makeshift battering ram to shatter one of the Capitol’s windows. She
pulls the heavy, pipe-shaped object back and throws her weight forward against it repeatedly. (“That’s one of those things I can
neither confirm nor deny,” she said. “I just need to talk to an attorney. If you look at that video, people are just going to make their
own assumptions.”) In yet another video, she stands outside a broken window, shouting instructions through the bullhorn to
rioters inside. Powell says, “I’ve been in the other room,” and appears to outline a plan involving breaking a pane of glass to get
into another part of the Capitol. Powell said, regarding her knowledge of the building’s layout, “Anything that was said was figured

out as time went on. It wasn’t like there was a map or anything.”

After the riot, Powell said, “I was by myself—I didn’t rendezvous with a bunch of people . . . I didn’t meet militias.” Lynn said that
Powell did not join him for the drive home. Powell declined to answer questions about how she returned to Pennsylvania, or with

whom.

Forrest Rogers, who reported Powell’s name to the F.B.L, at first thought he had identified a ringleader in a premeditated
campaign to invade the Capitol. “The initial footage showed a woman, an apparent insider with an understanding of the Capitol
layout, shouting commands to a bunch of unknowns through a bullhorn,” Rogers said. “This created a perception that she was one
of the conspirators with an extensive network.” John Scott-Railton, a researcher at the Citizen Lab at the University of Toronto,

who has been involved in crowdsourced efforts to identify participants in the riot, said that he also independently confirmed

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Powell’s identity: “It became clearer over time that her actual role might be different, but still important to understanding what

brought a person like that to the capitol.”

Lemons, Powell’s mother, expressed astonishment at her daughter’s conduct and said that she condemned the violence during the
riot. “The whole family is, in a way, just devastated,” she said. “It’s a thing you never expect, that your child is going to be on some
F-B.I. ‘Wanted’ poster.” Powell said that her only regrets were the possible repercussions for her children. Asked whether she
would have acted differently, given the chance, she said, “I try not to think about that. There are some things that are just worth

blocking out.”

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Ronan Farrow, a contributing writer to The New Yorker, is the author of “Catch and Kill’ and “War on Peace.” His
reporting for The New Yorker won the 2018 Pulitzer Prize for public service.

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